       Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 1 of 28




                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

LINNET BROOKS, AARON BROOKS,                  :     CIVIL ACTION
MICHAEL LUCY, ELIZABETH YODER,                :
and MEGAN ABPLANALP on behalf of              :
their minor daughters A.B., R.L., and Q.H.,   :
                                              :
                                              :     Civil Action No.:
                         Plaintiffs,          :     4:22-CV-01335-MWB
                                              :     Hon. Matthew W. Brann
            v.                                :
                                              :     Jury Trial Demanded
STATE COLLEGE AREA SCHOOL                     :
DISTRICT,                                     :
                                              :
                         Defendant.           :


 MOTION FOR TEMPORARY RESTRAINING ORDER/PRELIMINARY
                    INJUNCTION


  Plaintiffs bring this Motion for Temporary Restraining Order/Preliminary

Injection against Defendant, the State College Area School District and allege the

following in support thereof:


  1.   Parents Linnet Brooks, Aaron Brooks, Michael Lucy, Elizabeth Yoder, and

       Megan Abplanalp bring this Temporary Restraining Order/Preliminary

       injunction on behalf of their minor daughters, A.B., R. L., and Q.H., for the
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 2 of 28




     intentional exclusion of females from educational opportunities by the State

     College Area School District.

                           JURISDICTION AND VENUE

2.   Plaintiffs bring this suit under Title IX of the Education Amendments of

     1972, 20 U.S.C. § 1681, et esq, and its interpreting regulations and the

     Equal Protection Clause of the Fourteenth Amendment to the United States

     Constitution as enforced through 42 U.S.C. § 1983. This Court has

     jurisdiction over Plaintiffs’ Federal law claims pursuant to 28 U.S.C. §§

     1331, 1343(a)(3) and 1343(a)(4). Declaratory and other relief is authorized

     pursuant to 28 U.S.C. § 2201 and 28 U.S.C. §2202.

3.   Venue is proper in the Middle District of Pennsylvania pursuant to 28

     U.S.C § 1391(b), because the events giving rise to Plaintiffs’ claims

     occurred in this District. All Plaintiffs reside in the district, as does the

     Defendant State College Area School District.

                                      PARTIES

4.   Plaintiffs are the parents and natural guardians of A.B., R.L., and Q.H., who

     are female students residing in the district of and attend the State College

     Area School public school system (collectively “Plaintiff Parents” and

     “Plaintiff Players”). Plaintiff Players have all participated in ice hockey

     previously.
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 3 of 28




5.   The State College Area School District public school system (“SCASD”) is

     the public school system for State College and surrounding townships in

     Centre County, Pennsylvania. SCASD’s main office is located at 240 Villa

     Crest Dr., State College, PA 16801.

6.   SCASD ice hockey club teams are sanctioned SCASD club sports teams

     that compete in the Laurel Mountain Hockey League. The SCASD ice

     hockey club teams are required to be chartered by a sponsoring school and

     have an academic advisor.

7.   The SCASD ice hockey club’s academic advisor is an employee of the

     SCASD school system and is paid an extra stipend by the school system to

     act as the academic advisor.

8.   The Laurel Mountain Hockey League (“LMHL”) is a hockey league that

     facilitates interscholastic play between participating schools. Only teams

     with school sponsorship and school academic advisors are allowed to play

     in the league.

9.   The SCASD ice hockey teams compete in the LMHL as a “Closed (Pure)

     Program,” meaning that the players must “attend a sponsoring school

     district that fields a team…” (Exhibit “A”; LMHL 2021-2022 Playing

     Rules; Eligibility - Teams, Art 2, §2.01(B)(1)). Students who “do not

     attend the sponsoring school district are not allowed to play for the
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 4 of 28




    associated team.” Id. In order for a team to qualify to be a closed program,

    “[p]layers must follow sponsoring school district policies.” Id. Art 2,

    §2.01(B)(1). The LMHL requires the certification of academic eligibility

    and must be “Declared in good academic standing with attending school

    district.” Id. Art 2, §2.03(H)

10. The State College Area School District Ice Hockey Club, also registered as

    the SCASD Ice Hockey Club a/k/a SC Ice Hockey Club, (“IHC”) is a

    parent-run booster club incorporated in Pennsylvania and organized to help

    facilitate the SCASD ice hockey club teams’ play in the LMHL. (Exhibit

    “B”; IHC “By-laws of SC Ice Hockey Club” ). The IHC has no ability to

    enter a team in the LMHL without school sponsorship and is reliant on

    SCASD school sponsorship. SCASD ceded complete and unfettered control

    of the ice hockey club teams to IHC and/or the IHC appointed coaches,

    therefore IHC is an agent in fact of SCASD for the administration and

    organization of the ice hockey club teams. However, the IHC has no

    authority within its own by-laws for such actions and no legal agreement

    with the school that states such authority.

11. The State College Youth Ice Hockey Association (“SCYIHA”) is a private

    organization that accommodates league play in the Pittsburgh Area Hockey

    League (“PAHL”). SCYIHA does not need school sponsorship in order to
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 5 of 28




    roster teams in PAHL and is not subject to Title IX. These teams are

    typically associated with ice rinks and not schools.

                                BACKGROUND

12. In or about 2001, SCASD created a club program for sports that were not

    within purview of the Pennsylvania Interscholastic Athletic Associate

    (“PIAA”). (Exhibit “C”; 2001 SCASD club sport application packet). This

    came at the behest of SCASD students who played ice hockey for private

    teams and wished to be officially recognized by SCASD so they could

    compete in the scholastic hockey league for their school. The SCASD club

    sports programs are afforded the same status as a SCASD recognized PIAA

    sport: referred in the daily announcements and bulletins, reported on in the

    school and local newspapers, posting signs with administrative approval,

    the award of letters, yearbook space, same access to facilities, etc. Id. at p.4

    §4.

13. The sports club application establishes that “the coach will be responsible

    for the Club Sports team in all aspects of the program…” Id. at p.3, §3(B)).

    It was the intention of SCASD to cede complete operational control to

    third-parties and retain no oversight of the club programs.

14. Club sports are recognized as “a ‘Class A’ State College Area School

    District Related Organization.” Id. p.4 § 5. Non-profit/non-school related
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 6 of 28




    organizations, which is what the IHC would be if it was truly independent

    of SCASD, are “Class C.” Id.

15. In or about 2004, the IHC formed as a parent-run not-for-profit corporation

    designed to help facilitate the teams’ play in the LMHL. The mission of the

    organization is to “provide opportunities " to middle school and high school

    students. (Exhibit “B” – By-laws of SC Ice Hockey Club).

16. The IHC’s primary place of business is located at 650 Westerly Parkway,

    South Building, State College, PA 16801, which is the physical location of

    SCASD’s State College Area High School. (Exhibit “D”; Pa. Dept. of State

    registration).

17. At some point after formation of the IHC, SCASD ceded 100% control of

    the SCASD ice hockey club teams to the parent-run IHC instead of the

    designated coach. There were no written or oral agreements as to the

    transfer of control, however, it was apparently the intent of SCASD to have

    no supervisory oversight of the IHC whatsoever as to the administration or

    operation of the SCASD ice hockey club teams.

18. From 2004 until at least 2016 there would be one or two middle school

    teams, based upon the number of SCASD students trying out.

19. Traditionally, SCYIHA, the private ice hockey organization local to State

    College, supports a girls’ team that competes in the PAHL. For various
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 7 of 28




    reasons, SCYIHA did not roster a girls’ team for the 2022-202 season and

    is not expected to do so in the near future. While it attempted to do so,

    SCYIHA was unable to successfully roster a co-ed team that could

    accommodate female athletes over the age of 12.

20. In or about February of 2022, it was known that the opportunities for

    females to participate on SCYIHA league teams would be limited and

    Plaintiffs gave notice to the IHC that the best viable option to accommodate

    the female athletes would be to make sure there were enough middle school

    teams to roster as many athletes as possible. The middle school teams are

    co-ed and non-checking, which made it optimal for both male and female

    athletes.

21. On April 12, 2022, the SCASD middle school team had tryouts where 34

    SCASD students attended, including at least 4 females.

22. On April 15, Plaintiff Parents emailed the appointed coach of the middle

    school team, reiterating the lack of opportunities for females and pointing

    out that there were enough players trying-out to roster two middle school

    teams. This was declined due to a theoretical lack of ice times available,

    despite the IHC not actually enquiring about ice time availability. (Exhibit

    “E”; e-mail dated April 15, 2022).
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 8 of 28




23. On April 19, 2022, Plaintiff Parents emailed a representative at Pegula Ice

    Arena, which is owned and operated by the Pennsylvania State University,

    to determine if ice time for a second middle school team was available. The

    representative stated that the ice arena would be happy to work with the

    interested parties to accommodate the female athletes, but someone from

    the IHC would need to initiate those conversations. (Exhibit “F” e-mail

    dated April 20, 2022).

24. On April 26, 2022, a second try-out for the middle school team was held.

    One of the female athletes who had attended the prior try-outs did not return

    because she knew that the chances of gaining a roster spot when competing

    with the boys was futile.

25. On April 27, 2022, the final roster for the 2022-2023 middle school team

    was posted. Nineteen boys but no girls were rostered.

26. Of the nineteen boys who were rostered on the middle school team, all but

    one were also rostered on one or more other hockey teams, including but

    not limited to the private SCYIHA league and tournament teams. It is

    believed that at least six of the boys are rostered on a total of three separate

    teams playing at Pegula Ice Arena.

27. Plaintiff Parents reached out to the IHC board to again ask it to

    accommodate the female athletes since there were currently no girls over
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 9 of 28




     the age of 12 rostered on any team located in State College while at the

     same time there were boys rostered on as many as three teams. (Exhibit

     “G”; e-mail dated April 27, 2022).

28. On April 28, 2022, in an attempt to find some sort of solution that would

     accommodate the female athletes, Plaintiff Parents again reached out, even

     offering to have a third party mediate the situation. Chrissie Ebeck, the

     President of the IHC, again stated that it was due to lack of ice time. Ms.

     Ebeck stated that the IHC Board’s decision to roster only one middle school

     team was final. (Exhibit “H”; e-mail dated April 28, 2022).

29. It is the position of the IHC that it is not subject to Title IX or any other

     statutory or constitutional protections for SCASD students because they are

     a private corporation. Despite being a recipient of federal assistance and an

     operator of a public-school sports team, the IHC believes it is exempt form

     anti-discrimination laws.

30. On April 29, 2022, Plaintiff Parents sought the intervention of the SCASD

     school system in the situation since the third-party parents who controlled

     the IHC were not amenable to finding solutions. (Exhibit “I” – email dated

     April 29, 2022). Plaintiffs explained the situation to Chris Weakland,

     SCASD Athletic Director, Dr. Seria Chatters, SCASD Diversity and
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 10 of 28




    Inclusivity officer, and Andrew Wilson, the ice hockey club Academic

    Advisor appointed by SCASD.

31. On or about April 29, 2022, it is believed that Chris Weakland met with the

    academic advisor, Andrew Wilson, to confirm that there would be no

    financial impact to SCASD if there was a second middle school team.

    Andrew Wilson was supportive of adding a second team and could offer no

    reason as to why SCASD should not do so.

32. No later than April 29, 2022, SCASD had actual knowledge that the female

    students were interested in forming a team and that there were enough

    players to form a team, that there was no cost to the school associated with

    the team formation, and that the academic advisor was in approval of the

    expanded opportunities for the female athletes.

33. On or about May 3, 2022, Chris Weakland, as a representative of SCASD,

    met with the IHC board where he requested that the IHC roster a second

    team. However, the IHC informed Mr. Weakland that he was without

    authority to suggest and/or insist on the rostering of a second middle school

    team.

34. Accepting that SCASD had ceded 100% control of the ice hockey teams to

    the third-party parents with no retained oversight, SCASD made no further
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 11 of 28




    attempt to accommodate the female athletes or communicate with Plaintiff

    Parents.

35. On May 12, 2022, believing that SCASD had given written authority to the

    IHC to administer the ice hockey club program, Plaintiffs sought an

    injunction in the Court of Common Pleas, Centre County, Pennsylvania,

    Docket No. 2022-0997. Believing that SCASD wanted to find a resolution,

    Plaintiffs provided SCASD an advanced copy of the injunction in hopes

    that all parties could enter into a dialogue to find solutions. Despite

    knowing otherwise, SCASD failed to inform Plaintiffs that SCASD had no

    actual agreement with the IHC and that SCASD was the ultimate

    responsible party.

36. On May 15, 2022, the IHC retaliated against the female athletes by stating

    that they would need to travel to Altoona, a city more than 40 miles from

    Pegula, and play for a private Catholic school if they wanted to compete on

    a team in the same league as SCASD. This also stripped Plaintiffs of other

    benefits that are afforded to their male counterparts who play for the

    SCASD middle school team. SCASD endorsed the retaliation and unequal

    treatment. The requirement to play for a private religious institution is also

    a violation of Plaintiff Players’ First Amendment rights.
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 12 of 28




37. The IHC then expanded their excuse for not rostering a second team in

    order to create more artificial barriers, stating it was a safety concern to

    have more than 19 players on the ice during practice. The IHC was unable

    to articulate an actual number of players that could practice safely.

38. SCASD knew at all times that the safety concern was completely false and

    that USA Hockey, the parent organization of all hockey programs in the

    United States, has practice plans for upwards of 45 players on the ice at a

    time.

39. On May 17, 2022, despite knowing that the safety concerns were a blatant

    falsehood, Plaintiffs gave notice that they had enough players, coaches, and

    a separate ice time to roster a second team without any impact to the IHC,

    however, this offer to the IHC was not accepted, with no reason ever given.

40. Alternatively, on May 19, 2022, Plaintiffs asked SCASD to be able to roster

    a second team independent of the IHC which was also declined. SCASD

    stated that it was not interested in sponsoring a second team that would

    accommodate the female athletes.

41. Therefore, on May 19, 2022, SCASD knowingly and intentionally blocked

    the girls from forming their own team and knowingly and intentionally

    violating Title IX and the 14th Amendment of the U.S. Constitution.
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 13 of 28




42. On or about May 23, 2022, it became known to Plaintiffs that SCASD had

    never entered into any written or oral agreement with the IHC for the

    operation and administration of the SCASD ice hockey club.

43. On May 31, 2022, Plaintiff Parents contacted the acting SCASD

    Superintendent, Curtis Johnson, asking for SCASD to ensure that SCASD

    student were not being discriminated against due to gender or other

    immutable characteristics when participating in third-party clubs such as the

    IHC. Mr. Johnson explained that it was the position of SCASD that once a

    club is controlled by a third-party, SCASD is no longer responsible to

    protect the rights of its students during club activities.

44. On June 2, 2022, Plaintiff Parents filed a Title IX grievance with Linda

    Pierce, SCASD’s Title IX Coordinator. It was the position of the Title IX

    Coordinator that as long as the females had an opportunity to try out for the

    co-ed team, the Title IX requirements were fully met.

45. Linda Pierce informed Plaintiffs that the Title IX investigation would be

    completed between June 30 and July 11, 2022.

46. On July 27, 2022, still having no word from SCASD, Plaintiff Parents

    enquired about the status of the Title IX investigation. SCASD responded

    that the investigation had not yet been completed because they were

    performing a financial impact analysis to investigate the cost associated
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 14 of 28




    with expanding the SCASD ice hockey club program to accommodate the

    female middle school athletes, even though SCASD knew at all times

    relative that there would be no additional financial impact to the school.

47. On or about the same day, it was officially announced that the SCASD ice

    hockey club program would be adding a high school Junior Varsity team to

    accommodate the boys who did not or could not make the high school

    Varsity team.

48. To Plaintiffs’ knowledge, no financial impact analysis was conducted to

    investigate costs associated with rostering a Junior Varsity team to

    accommodate male athletes who had not made the varsity team. This is

    because SCASD knew at all times relative that there would be no additional

    financial impact to the school.

49. SCASD knew at all times relative that time was of the essence in

    accommodating the female students due to the need to schedule ice time,

    with practices starting at the beginning of September and games beginning

    in October.

50. On August 15, 2022, SCASD issued a report in response to the Title IX

    grievance filed by Plaintiffs in which SCASD admits that it is in overall

    non-compliance with Title IX. (Exhibit “J”; Title IX response dated August

    15, 2022).
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 15 of 28




51. SCASD conducted a three prong analysis of its Title IX compliance as is

    laid out by court precedence, including 1) substantial proportionality; 2) a

    history and continuing practice of expanding sports participation

    opportunities for girls; or 3) full and effective accommodation of the

    athletics interest of the girls enrolled as the school. Id. at p.5, ❡1.

52. SCASD found that it was not in compliance with prong one of Title IX

    analysis and the participation gap overall was at 9.471% and its

    participation gap in high school grades was 12.191%. Id. at p.5, ❡6. SCASD

    acknowledge that anything over 5% is out of compliance.

53. SCASD found that it was not in compliance with prong two of the Title IX

    analysis and that it had not made significant strides in expanding access to

    females in recent history. Id. at p.6, ❡1.

54. SCASD was not in compliance with prong three by knowingly and

    intentionally denying Plaintiffs the opportunity to form their own team,

    however, SCASD tried to dismiss prong three by essentially finding that

    females do not really want to participate in sports, therefore, SCASD does

    not need to look at providing more opportunities for them. Id. at p.7, ❡4.
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 16 of 28




55. The report issued by SCASD also appears to be flawed in several ways

    where SCASD attempts to justify its non-compliant status, including but not

    limited to:

      a. Failure to recognize that sport clubs explicitly fall within Title IX.

      b. Inappropriately counting cheerleading and/or competitive

         cheerleading as a Title IX sport in order to try to meet its numbers.

      c. Double counting the same female participants and/or sports (e.g.

         Cheerleading and Competitive Cheerleading).

      d. Failure to count the 19 middle school ice hockey players in their

         proportional analysis, bringing the proportional difference between

         male and female middle school participation to 5.3%, outside

         SCASD’s own delineated safe harbor provision.

      e. That it has no requirements for the addition of new female sports.

      f. Failure to account for adding a Junior Varsity team that will

         accommodate disproportionately more boys than girls.

      g. Failure to account that it did not include any of the ice hockey club

         sports in its analysis which would have shown even poorer

         compliance.
Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 17 of 28




  h. Claiming that the ice hockey team is supposedly “co-ed” but bases

     acceptance on physical ability, which is not equal between males and

     females.

  i. Falsely claiming that there is no interest by female participation to

     play ice hockey after intentionally blocking the girls from forming

     their own team.

  j. Falsely claiming that monetary expenditures between male and female

     sports are equal, by allocating equal shares of money toward males

     and females in co-ed sports when there not equal numbers of males

     and females participating (e.g. wrestling where SCASD, solely for the

     purposes of its Title IX analysis, allocates the funds 50/50 between

     boys and girls sports even though there are 74 boys and only one girl

     on the co-ed PIAA teams).

  k. SCASD spends approximately 19% more per year on male athletes

     than female athletes, that is $70.87 more per each male athlete than

     female athlete per year, or a total of $215,788.

  l. Finding that forcing girls to play at a private Catholic school in a city

     80 miles further away, round trip, is an “inconvenience” to female

     athletes as opposed to a blatant violation of Title IX.

  m. Not addressing LGTBQ+ discrimination.
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 18 of 28




       n. Failure to account for there being absolutely no justifiable reason not

          to accommodate the female athletes request to play ice hockey.

                (Exhibit “J”; Title IX response dated August 15, 2022,

                generally).

56. Most significantly, SCASD justified its exclusion of girls from playing ice

    hockey because it found that it had “maxed out its sports offerings for girls

    and that there are not other sports that could be offered in which there is

    enough interest by the girls to be able to field a team. This is especially so

    at the middle school level.” (Exhibit “J”; p.7 ❡4).

57. Recipients of federal funding are precluded from using discriminatory

    methods in assessing athletic interests. (See Dear Colleague Letter dated

    April 20, 2010 at P.4

    https://www2.ed.gov/about/offices/list/ocr/letters/colleague-

    20100420_pg4.html).

58. Recipients should be assessing “interests of the underrepresented sex by

    examining: … requests by students and admitted students that a particular

    sport be added… participation in club or intermural sports… interviews

    with students, admitted students, coaches, administrators and others

    regarding interest in particular sports…” Id. at P.6.
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 19 of 28




59. SCASD determined that, since there were fewer girls playing soccer than

    boys and that there were fewer girls playing basketball than boys, that there

    was no interest in girls playing ice hockey. (Exhibit “J”; p.7 ❡4).

60. SCASD’s assertion was obviously knowingly false since they had

    intentionally blocked the girls from the opportunity to form their own team.

    There was female interest in ice hockey and had not maxed out the sports

    offerings or the Title IX grievance would not have been initiated.

61. Despite knowing at all times that a second middle school team would have

    no financial impact on SCASD, SCASD spent seventy-five days on the

    investigation in a brazen attempt to run out the clock on the female athletes.

62. There was no similar investigation into costs associated with the addition of

    the Junior Varsity team when male athletes benefited from it. The JV team

    was added with no questions asked.

63. Each time that SCASD applies for or receives federal financial assistance,

    as a condition precedent to receipt of federal funds, SCASD must file an

    Assurance of Compliance with the Department of Education that it is in

    Title IX compliance. 34 C.F.R. § 106.4.

64. SCASD has done nothing and plans to do nothing to correct its Title IX

    non-compliance.
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 20 of 28




                       LEGAL STANDARDS – TITLE IX


65. Plaintiffs incorporate by reference the preceding paragraphs as if set forth in

     length.

66. Title IX provides in pertinent part that: “No person in the United States

     shall, on the basis of sex, be excluded from participation in, be denied the

     benefits of, or be subjected to discrimination under any education program

     or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

67. Subsequent regulations provide that “[n]o person shall, on the basis of sex,

  be excluded from participation in, be denied the benefits of, be treated

  differently from another person or otherwise be discriminated against in any

  interscholastic, intercollegiate, club or intramural athletics offered by a

  recipient.” 34 C.F.R. § 106.41(a).

68. Subsequent regulations provide further provide that “[a] recipient which

  operates or sponsors interscholastic, intercollegiate, club or intramural

  athletics shall provide equal athletic opportunity for members of both sexes.”

  34 C.F.R. § 106.41(c)(emphasis added).

 69. Recipients are specifically prohibited from, on the basis of sex:

        a. Provide different aid, benefits, or services or provide aid, benefits or

           services in a different manner;

        b. Deny any person any such benefit or service;
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 21 of 28




       c. Aid or perpetuate discrimination against any person by providing

          significant assistance to any agency, organization, or person which

          discriminates on the basis of sex in providing any aid, benefit, or

          service to students or employees.

       d. Otherwise limit any person in the enjoyment of any right, privilege,

          advantage, or opportunity.

                                     (34 C.F.R. § 106.31(b)(2), (3), (6) & (7)).

70. At all times relative, SCASD has accepted and benefited from federal funds

    and assistance, operates or sponsors interscholastic, club, or intramural

    athletics and SCASD is subject to Title IX.

71. Taking a “hands off” approach to club sports was wantonly negligent and it

    was easily foreseeable that turning a blind eye to the acts of third-party

    parents would lead to eventual discrimination in many forms. (Exhibit “J”;

    p.4 ❡2).

72. SCASD is also subject to the Constitution of the United States.

73. In order to prevail on injunctive relief in general, petitioners must

    demonstrate that 1) they are likely to succeed on the merits; 2) they are

    likely to suffer irreparable harm in the absence of preliminary relief; 3) the

    balance of equities tips in favor of the petitioner; and 4) an injunction is in

    the public interest.
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 22 of 28




74. In order to prevail on a Title IX preliminary injunction, more specifically,

    plaintiffs must show discrimination is a failure of “effective

    accommodation” based on 34 C.F.R. § 106.41(c)(1), or “equal treatment”

    based on 34 C.F.R. § 106.41(c)(2)-(10). See Biediger v. Quinnipiac Univ.,

    691 F.3d 85, 92 (2d Cir. 2012).

    1. Failure of effective accommodation

75. At all times relative, SCASD knew that there was a significant interest in

    girls playing ice hockey for the SCASD club team.

76. At all times relative, SCASD knew that there were enough players, coaches,

    and opportunity for ice time available for a second middle school team in

    order to accommodate the needs of all SCASD students.

77. At all times relative, SCASD knew that there would be no additional

    financial impact on the school system. All additional costs would be funded

    by the players’ parents.

78. At all times relative, SCASD knew that the academic advisor was willing to

    accommodate the second middle school team with no additional financial

    burden to the school system.

79. At all times relative, SCASD knew or should have known that it was not in

    Title IX compliance.
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 23 of 28




80. No later than August 15, 2022, SCASD knew that it was in overall non-

    compliance with Title IX but decided that girls don’t really want to play

    sports and therefore ruled out accommodating female athletes on the middle

    school ice hockey team. (Exhibit “J”; p.7 ❡4).

81. At all times relative, SCASD knew that boys and girls are not on a level

    playing field when competing against each other for limited roster spots on

    a co-ed sports team.

82. At all times relative, SCASD knew that it could effectively accommodate

    the interest of its female students by allowing them to form their own team.

83. The stated philosophy of SCASD interscholastic athletics is “[t]he Board of

    School Directors believes that the purpose of an interscholastic athletic

    program is to provide learning experiences that will contribute to the

    personal, physical and psychological development of the individual student

    athlete … Hence, participation in interscholastic athletics can serve an

    important role in meeting the needs of our students within the total

    educational process.” (See State College Area School District Athletic

    Department – Student Athlete/Parents Handbook, Exhibit “K” p.3).

84. The Student Athlete/Parents Handbook further states “At the Middle School

    / Junior High level, student-athlete participation and development of skills

    in a sport are valued above the winning of contests. It is an expectation that
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 24 of 28




    at a middle school competition, all student-athletes will participate.” Id at

    p.22.

85. Despite the foregoing, SCASD knowingly and intentionally blocked the

    female athletes from forming their own team for no express reason other

    than SCASD was not interested in doing so, while at the same time

    accommodating male athletes who did not make the Varsity team by

    creating a Junior Varsity team.

86. SCASD knows that it is in stark violation of Title IX by excluding females

    while at the same time, creating more opportunities for males.

    2. Failure to provide equal treatment

87. After blocking the girls from forming their own team, on May 17, 2022, the

    IHC and SCASD stated that the only accommodation they would make for

    female athletes is to have them join a private Catholic school team located

    in Altoona, Pennsylvania in the same league the SCASD teams play in. The

    Catholic school team practices at Galactic Ice Arena in Altoona, PA.

88. Galactic Ice Arena is more than forty additional miles away (80 miles round

    trip) from Pegula Ice Arena.

89. Galactic Ice Arena is an additional hour and a half or more of round-trip

    travel time.
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 25 of 28




90. Playing for a different school denies Plaintiff Players a SCASD academic

     advisor, access to tutors, training facilities, and institutional support

     afforded to the counterpart male athletes. (Exhibit “J”; p.7 “Amenities”).

91. Plaintiffs would be forced to play for a religious school in violation of their

     First Amendment Rights.

92. SCASD does not deny that the discrimination in facilities, academic

     tutoring services, institutional support, or practice schedule is unequal

     treatment in its response to Plaintiffs’ Title IX Complaint. (Exhibit “J”; p.9

     “VII. Retaliation”).

93. SCASD believes that female athletes having to travel further, spend more

     money, and spend more time than their male counterparts is a mere

     inconvenience as opposed to unequal treatment. Id.

94. SCASD and the IHC are forcing Plaintiffs to accept unequal treatment in

     order to participate in athletics and are in clear violation of Title IX.

    3. Plaintiffs are Likely to Succeed on the Merits

95. Plaintiffs are likely to succeed on the merits. Plaintiffs have laid out, and

     Defendant has admitted to, per se violations of Title IX. Despite knowing it

     is in violation, Defendant has stated that it has no intent on rectifying the

     violations and continued to block the girls from playing ice hockey.

    4. Plaintiffs will Suffer Irreparable Harm.
    Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 26 of 28




96. Plaintiff Players will suffer irreparable harm unless SCASD is stopped from

    excluding Plaintiffs from the middle school ice hockey club program.

97. Plaintiff Players will lose valuable time to develop as athletes and

    individuals if they are not allowed to participate in SCASD sports clubs.

    (Exhibit “L”; Affidavit of Christine Brooks with CV).

    5. The Balance of Equities Tips in Favor of Plaintiffs.

98. The balance of equities weighs heavily in favor of the Plaintiff Players.

    There would be no financial detriment to SCASD and SCASD would be

    fulfilling its mission statement which is to educate and prepare students for

    the future.

    6. Precluding SCASD from Discriminating Against its Female Students
       is in the Public Interest.

99. Congress passed Title IX specifically because it is in the best interest of

    society to ensure that females have equal access to educational

    opportunities.

    WHEREFORE, Plaintiffs, on behalf of their minor children, request that this

Court enter judgment on their behalf, requiring Defendant to ensure that the

female athletes are readmitted to the ice hockey club and rostered to the

SCASD middle school ice hockey club team with equal treatment and benefits

as all other members of the ice hockey club as well as any other remedies
     Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 27 of 28




deemed necessary and proper including cost of suit and reasonable attorney

fees.

                  LEGAL STANDARDS -
  VIOLATIONS OF THE EQUAL PROTECTION CLAUSE OF THE
     FOURTEENTH AMENDMENT TO THE UNITED STATES
                    CONSTITUTION.


100. Plaintiffs incorporate by reference the preceding paragraphs as if set forth in

    length.

101. In addition to SCASD violating Title IX, SCASD also violated Plaintiffs’

    constitutional protections and therefore violated 42 U.S.C. § 1983.

102. SCASD has shown a willful and wanton disregard for the rights and

    privileges of its students as well as taken active steps to discriminate and

    retaliate against its students.

103. Plaintiffs are entitled to a temporary restraining order and/or preliminary

    injunction for SCASD’s acts and omissions.

104. SCASD, acting under color of law, deprived Plaintiff Players of their rights

    by adopting and implementing policies that discriminate against Plaintiff

    Players.

    WHEREFORE, Plaintiffs, on behalf of their minor children, request that this

Court enter judgment on their behalf, requiring Defendant to ensure that the

female athletes are readmitted to the ice hockey club and rostered to the
      Case 4:22-cv-01335-MWB Document 3 Filed 08/29/22 Page 28 of 28




  SCASD middle school hockey team with equal treatment and benefits as all

  other members of the ice hockey club teams as well as any other remedies

  deemed necessary and proper including costs of suit and reasonable attorney

  fees.

                                            Respectfully submitted,

Dated: August 29, 2022                     /s/ Aaron Brooks /s/
                                          Aaron Brooks PA# 207801
                                          Attorney for Plaintiffs
                                          765 Beaver Branch Rd.
                                          Pennsylvania Furnace, PA
                                          16865
                                          (814) 852-8264
                                          Atbrooks96@yahoo.com
